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                                                       U.S. Department of Justice


                                                       United States Attorney
                                                       Eastern District of New York
 AES                                                   271 Cadman Plaza East
 F.#2019R00102                                         Brooklyn, New York 11201


                                                       July 19, 2022


 By ECF
 The Honorable Raymond J. Dearie
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

                Re:     United States v. Jose Carlos Grubisich
                        Criminal Docket No. 19-102 (RJD)

 Dear Judge Dearie:

                The parties jointly file this letter pursuant to the Court’s July 13, 2022 order for a
 further update on the status of the defendant’s application to the International Prisoner Transfer
 Program. As set forth in our initial status update on July 8, 2022 (see Dkt. No. 120), the
 Department of Justice, Office of International Affairs (“OIA”) had requested that a consent
 verification hearing (“CVH”) be scheduled. The CVH was held last Friday afternoon, July 15,
 2022, before the Honorable William I. Arbuckle, III, a magistrate judge in the Middle District of
 Pennsylvania. Judge Arbuckle confirmed the defendant’s consent to be transferred, and
 subsequently conveyed that verification to OIA. Yesterday, on July 18, 2022, OIA notified the
 relevant authorities in Brazil and at the Bureau of Prisons (“BOP”) of the CVH and the
 verification. The final step in the process is for the Brazilian authorities to contact the BOP to
 arrange the details of the transfer.

                                                       Respectfully Submitted,

 LORINDA I. LARYEA                                     BREON PEACE
 Acting Chief, Fraud Section                           United States Attorney
 Criminal Division, DOJ


 By: /s/                                               By:      /s/
    Leila Babaeva                                            Alixandra Smith
    Trial Attorney                                           Assistant U.S. Attorney
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 cc:    Clerk of Court (RJD) (by ECF)
        Defense counsel (by ECF)
